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                                         RETURN OF SERVICE

                                 UNITED STATES DISTRICT COURT
                                   SOUTHERN District of Florida
 Case Number: 1:21-CV-23709-MGC

 Plaintiff:
 WILSON VILLA AND OTHER SIMILARLY SITUATED INDIVIDUALS
 vs.
 Defendant:
 TURCIOS GROUP CORP, AND HENRY TURCIOS INDIVIDUALLY,

 For:
 Zandro E. Palma
 THE LAW OFFICE OF ZANDRO E. PALMA, P.A.
 9100 South Dadeland Blvd.
 Suite 1500
 Miami, FL 33156

 Received by Lindsay Legal Services, Inc on the 25th day of October, 2021 at 11:12 am to be served on
 HENRY TURCIOS, 14469 SW 50 TERR, MIAMI, FL 33175.

 I, DANNY ALONSO, do hereby affirm that on the 11th day of November, 2021 at 9:00 pm, I:

 INDIVIDUALLY/PERSONALLY served by delivering a true copy of the SUMMONS IN A CIVIL ACTION
 AND COMPLAINT with the date and hour of service endorsed thereon by me, to: HENRY TURCIOS at
 the address of: 14469 SW 50 TERR, MIAMI, FL 33175, and informed said person of the contents therein,
 in compliance with state statutes.

 Military Status: Based upon inquiry of party served, Defendant is not in the military service of the United
 States of America.

 Marital Status: Based upon inquiry of party served, Defendant is married.

 Description of Person Served: Age: 55, Sex: M, Race/Skin Color: Hispanic, Height: 5'6", Weight: 160, Hair:
 Black, Glasses: N
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 I certify that I am over the age of 18, have no interest in the above action, and am a Certified Process
 Server, in good standing, in the judicial circuit in which the process was served. Under penalty of perjury, I
 declare that I have read the foregoing documents, and that the facts stated in it are true. NO NOTARY
 REQUIRED PURSUANT TO F.S.92.525(2)




                                                                           DANNY ALONSO
                                                                           Process Server #1505

                                                                           Lindsay Legal Services, Inc
                                                                           7105 SW 8th Street
                                                                           Suite 307
                                                                           Miami, FL 33144
                                                                           (305) 273-0317

                                                                           Our Job Serial Number: RLA-2021002500


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